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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

MONTAGE MORTGAGE, LLC,                             §
                                                   §
                   Plaintiff,                      §
                                                   §
v.                                                 §       NO. __________________________
                                                   §
PACIFIC UNION FINANCIAL, LLC,                      §
JOHN PERRY, VALERIE COLEMAN,                       §
CAITLIN V. COOKE, EDUARDO                          §
CREQUE, JESSICA M. FURR (KEEN),                    §
KATHY KELLER, FOUAD NAGHMI,                        §
TAMMY NEAL, CHARLES F. PEER,                       §
MICHAELENE WHYTE, and MELISSA                      §
WILLOBY,                                           §
                                                   §
                   Defendants.                     §

              PACIFIC UNION FINANCIAL, LLC’S NOTICE OF REMOVAL

         Defendant Pacific Union Financial, LLC (“Pacific Union”) hereby files this Notice of

Removal, removing the case styled Montage Mortgage, LLC v. Pacific Union Financial, LLC, John Perry,

Valerie Coleman, Caitlin V. Cooke, Eduardo Creque, Jessica M. Furr (Keen), Kathy Keller, Fouad Naghmi,

Tammy Neal, Charles F. Peer, Michaelene Whyte, and Melissa Willoby, Case No. DC-016-03036, from the

298th Judicial District Court, Dallas County, Texas, to this Court pursuant to 28 U.S.C. §§ 1331,

1441, and 1446. The grounds for removal are as follows:

                                 I. PROCEDURAL HISTORY

         1.     On March 14, 2016 Montage Mortgage, LLC (“Plaintiff”) filed its Original Petition

in Texas state court against Pacific Union, Micah Laverne Greene, and John Perry, multiple Texas

state law claims and causes of action including: breach of contract, misappropriation of confidential

information and trade secrets, tortious interference with prospective business relations, intentional




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interference with contractual relations, and conspiracy. Plaintiff’s Original Petition did not implicate

claims or defenses arising out of federal law, and did not seek relief under any federal law.

          2.     On September 12, 2016 Plaintiff filed its First Amended Petition in state court

adding new state law causes of action including: tortious interference of contractual relations, breach

of fiduciary duty, and aiding and abetting. Plaintiff’s First Amended Petition did not purport to seek

relief under any federal law.

          3.     On September 29, 2017 Plaintiff filed its Second Amended Petition in Texas state

court. The Second Amended Petition also sought to join 10 additional, individual defendants:

Valerie Coleman, Caitlin V. Cooke, Eduardo Creque, Jessica M. Furr (Keen), Kathy Keller, Fouad

Naghmi, Tammy Neal, Charles F. Peer, Michaelene Whyte, and Melissa Willoby. The Second

Amended Petition also asserts, for the first time, causes of action arising out of federal law,

including: the federal Racketeer Influenced and Corrupt Organization Act, 18 U.S.C. §§ 1961, et seq.

(“RICO”), the federal Defend Trade Secrets Act (“DTSA”), 19 U.S.C. §§ 1836, et seq., and the

Computer Fraud and Abuse Act (“CFAA”), 18 U.S.C. § 1030.

          4.     On September 29, 2017, Pacific Union was served with Plaintiff’s Second Amended

Petition. This removal is timely filed within 30 days of receipt of Plaintiff’s Second Amended

Petition. 28 U.S.C. § 1446(b). True and correct copies of all pleadings filed in state court are attached

hereto.

                          II. FEDERAL QUESTION JURISDICTION

          Pacific Union removes this case on the basis of federal question jurisdiction. 28 U.S.C. §

1331 (“The district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States.”). Plaintiff now alleges claims arising under

federal law, including, specifically the DTSA, RICO, and CFAA. This action has therefore become

removable. See Wheeler v. Kidder Peabody & Co., Inc., 1993 WL 455869, at *2 n.2, 8 F.3d 21 (5th Cir.




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Oct. 26, 1993) (recognizing that federal district court had jurisdiction under § 1331 based on asserted

RICO claim, and supplemental jurisdiction over related state claims).

         Pursuant to 28 U.S.C. § 1367(a), the Court has supplemental jurisdiction over all of

Plaintiff’s state law causes of action arising under Texas and Virginia law because the other claims

are so related to the claims in this action within Court’s original jurisdiction that they form part of

the same case or controversy.

     III. PROPER VENUE AND COMPLIANCE WITH REMOVAL PROCEDURES

         Under 28 U.S.C. § 1441(a), venue of the removed action is proper in this Court as the

district and division embracing the place where the state action is pending.

         Pursuant to 28 U.S.C. § 1446(b)(2)(A), all defendants who have been served have consented

to the removal of the action.

         Pacific Union will promptly give adverse parties written notice of the filing of this Notice of

Removal as required by 28 U.S.C. § 1446(d). Pacific Union will also promptly file a copy of this

Notice of Removal with the clerk of the 298th Judicial District Court, Dallas County, Texas, where

the action is currently pending, also pursuant to 28 U.S.C. § 1446(d).

         True and correct copies of all process, pleadings, and the orders served upon Defendant in

the state court action are being filed with this notice as required by 28 U.S.C. § 1446(a) and are

attached hereto.

         WHEREFORE, Pacific Union removes the case styled Montage Mortgage, LLC v. Pacific Union

Financial, LLC, John Perry, Valerie Coleman, Caitlin V. Cooke, Eduardo Creque, Jessica M. Furr (Keen), Kathy

Keller, Fouad Naghmi, Tammy Neal, Charles F. Peer, Michaelene Whyte, and Melissa Willoby, Case No. DC-

016-03036 from the 298th Judicial District Court, Dallas County, Texas, on this 27th day of

October, 2017.




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Dated: October 27, 2017                            Respectfully submitted,



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                                CERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the above and foregoing has been served upon all
counsel of record via U.S. Mail and email, on this 27th Day of October 2017, as follows:

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                                   /s/ Jason R. Elliott
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